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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


JOSEPH D. LENTO, ESQ., an individual,

LENTO LAW FIRM, LLC, a limited liability
company,

                  Plaintiffs,
                                              Civil Action No.: 1:22-cv-04840
        v.

KEITH ALTMAN, ESQ., an individual,
                                                     NOTICE OF MOTION
THE LAW OFFICE OF KEITH ALTMAN,                FOR PRO HAC VICE ADMISSION OF
PLLC, a/k/a “K ALTMAN LAW”, a limited             HOWARD W. FOSTER, ESQ.
liability company,

ANTOINETTE MONK, an individual,

ARI KRESCH, an individual,

RICHARD GILL, an individual,

JOHN DOES 1-10, fictitious individuals, and

ABC BUSINESS ENTITIES 1-10, fictitious
entities,

                  Defendants.


TO:
      Keith Altman, Esq.                      Ari Kresch
      30474 Fox Club Drive                    31460 E. Stonewood Court
      Farmington Hills, Michigan 48331        Farmington Hills, Michigan 48334
      Defendant                               Defendant

      The Law Office of Keith Altman, PLLC    Richard Gill
      a/k/a “K Altman Law”                    37555 West 12 Mile Road
      37555 West 12 Mile Road                 Farmington Hills, Michigan 48331
      Farmington Hills, Michigan 48331        Defendant
      Defendant
      Antoinette Monk
      33228 W 12th Mile Rd, Ste 375,
      Farmington Hills, Michigan 48331
      Defendant
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       PLEASE TAKE NOTICE that the undersigned will apply to the above-named Court at

the Mitchell H. Cohen Building & U.S. Courthouse located at 4th & Cooper Streets, Camden,

New Jersey 08101 on Tuesday, September 6, 2022 at 9:00a.m. or as soon thereafter as may be

heard, for an Order allowing for the Admission Pro Hac Vice of Howard W. Foster, Esquire,

pursuant to Fed. R. Civ. P. 78, and L. Civ. R. 101.1(c)(1).

       PLEASE TAKE FURTHER NOTICE that in support of this application, Plaintiff’s

Counsel shall rely upon the Certification of Samuel D. Jackson, Esquire, and the Certification of

Howard W. Foster, Esquire, as attached.

       Pursuant to Fed. R. Civ. P. 78, the undersigned requests that this matter be submitted to the

Court for ruling on the papers unless opposition is filed, in which case, oral argument is specifically

requested. A proposed form of Order is annexed hereto.

Dated: August 3, 2022                  LENTO LAW GROUP, P.C.



                                       ______________________________________
                                       SAMUEL D. JACKSON, ESQUIRE

       I certify that the within Notice of Motion and all supporting documents have been filed and

served in the manner and within the time limits prescribed by the Rules.

Dated: August 5, 2022                  LENTO LAW GROUP, P.C.



                                       ______________________________________
                                       SAMUEL D. JACKSON, ESQUIRE
